                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:
                                                          Chapter 13
BRANDON HEITMANN,                                         Case No. 24-41956-MAR
                                                          Hon. Mark A. Randon
                 Debtor.
                                             /
MOHAMED SAAD,

          Plaintiff,
v.                                                        Adv. Pro. No. 24-04375-MAR
                                                          Hon. Mark A. Randon
BRANDON HEITMANN,

          Defendant.
                                                     /

  DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO COMPEL

         Defendant Brandon Heitmann, by and through his counsel, Kotz Sangster

Wysocki, P.C., and for his Response to Plaintiff’s Motion to Compel Discovery

hereby states as follows:

         I.     Relevant Background

         Plaintiff served his discovery requests on Defendant on November 15, 2024.

On January 9, 2025, Defendant attempted to discuss Plaintiff’s irrelevant, wildly

broad, and unduly burdensome discovery requests with Plaintiff:




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Plaintiff did not respond to Defendant’s January 9, 2025 email until January 14,

2025.

        Regardless, On January 10, 2025, Defendant timely provided his responses to

Plaintiff’s discovery requests along with a 242-page bates-stamped document

production. It was not until late March 2025, (after Defendant pointed out Plaintiff’s

deficient responses, which contained only 3 pictures) did Plaintiff assert any

specifics regarding Defendant’s allegedly deficit discovery responses.

        Plaintiff’s request for sanctions against Defendant is inappropriate. Plaintiff

sat on Defendant’s discovery responses for 10 weeks. Plaintiff falsely claims he was

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unaware Defendant was unlicensed. Plaintiff falsely claims Defendant left a “mud

pit” on his property. Plaintiff is well aware these allegations are patently false.

      II.    Defendant’s objections are not “boilerplate”. The objections are
             adequate and reasonable responses to remarkably overboard,
             vague, and unduly burdensome discovery requests.

      Plaintiff’s Motion alleges Defendant’s General Objections are boilerplate in

nature and lack specificity in its application to Plaintiff’s discovery requests.

Defendant agrees it will strike all listed “General Objections” that precede

Defendant’s responses to Plaintiff’s Interrogatories and Requests for Production of

Documents. Defendant, however, will not strike any of its objections contained in

his answers to each individual discovery request since these objections are made

with specificity and tailored to each of Plaintiff’s discovery requests.

      Plaintiff is the party who separately enumerated various clearly irrelevant,

vague, overly broad and unduly burdensome discovery requests, such as:

           All check ledgers and bank statements for Exigent from 1/1/22 to
            date;
           All of Exigent’s accounting and software files from 1/1/22 to date;
           All administrator logins and passwords to accounting and
            software systems;
           A detailed ledger of all accounts payable from 1/1/22 to date;
           A schedule of all capital contributions between Heitmann and
            Exigent from 1/1/20 to date;
           A schedule of all loan activity from 1/1/20 to date;
           All documents relating to amounts paid to Heitmann and his wife,
            by Exigent, from 1/1/22 to date;
           All transactions between Heitmann, his wife and Exigent from
            1/1/20 to date;

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            All check ledgers and bank statements from Heitmann’s personal
             bank accounts from 1/1/22 to date;
            Exigent’s tax returns from 2020-2023; and,
            Exigent’s operating agreement and all resolutions.

      Accordingly, that basis for Defendant’s objections and the similarity of many

of his specific objections should not be a surprise to Plaintiff given Plaintiff’s

widely-cast net. Further, Defendant is an individual being asked to produce a far-

reaching and remarkably broad and burdensome suite of financial documents from

a company that no longer exists.

      III.   The improper filing of Answers to Interrogatories.

      Plaintiff’s Motion states discovery materials, including answers to

interrogatories, must not be filed with the Court pursuant to Local Rule 7026-1(b).

Defendant acknowledges his discovery responses were inadvertently filed with the

Court. This clerical mistake was discussed amongst the parties and Defendant agreed

to strike the pleading from the docket filings.

      IV.    Plaintiff alleges non-responsive Answers to Interrogatories.

      Plaintiff alleges that Defendant’s responses to Interrogatories #5, 7, and 9

were “non-responsive.” Defendant’s objections and answers were fair, accurate, and

in response to the form and nature of the questions Plaintiff posed.

      Plaintiff’s Interrogatory #5 asked for the “full name and current address of

each person who may have knowledge regarding the facts and circumstances

surrounding the allegations and conditions alleged in Plaintiff’s Complaint”
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[emphasis added]. Defendant properly objected to the overbroad and speculative

nature of this request and responded to the best of his current knowledge as required

by Fed.R.Civ.P.33(b). The information produced in Defendant’s Initial Disclosures

and in response to Plaintiff’s Interrogatory #5 accurately reflects the most current

information of all known individuals that Defendant is currently aware of. Defendant

is unsure how Plaintiff expects Defendant to produce information he does not have.

Pursuant to Fed.R.Civ.P.26(g), Defendant has performed reasonable inquiry into

Plaintiff’s requests. Further, the form of the question itself is overbroad and unduly

burdensome. Defendant cannot be compelled to identify individuals he does not

know nor have contact information for.

      Despite Defendant’s valid objection and response, in the spirit of discovery,

Defendant proposes to stipulate to supplement his response to Interrogatory #5

within 21 days if he learns of additional contact information including names and

addresses.

      Plaintiff’s Interrogatory #7 asks Defendant to provide an accounting for the

Project. Defendant’s objection and response, including the spreadsheet of

accounting regarding the project, was valid. Plaintiff’s Interrogatory goes well

beyond permissible requests by requiring Defendant to create a new document rather

than disclosing existing knowledge or records in violation of Fed.R.Civ.P.33(a)(2)

and Fed.R.Civ.P.26(b). See, e.g., Thompson v. Lantz, 2009 WL3157561, *1


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(D.Conn.2009) (“[A] party cannot be compelled to create, or cause to be prepared,

new documents solely for their production. Rule 34 only requires a party to produce

documents that are already in existence.”). Moreover, this request seeks records

related to a corporate entity, Exigent, which is no longer operational and not a named

party or defendant in Plaintiff’s Adversary Complaint. Defendant Heitmann is an

individual; Plaintiff’s Interrogatory asks for information regarding a corporate

debtor. As an individual, Defendant is not required to create a new document or an

accounting for the corporate debtor who is not named as a party to this current

lawsuit. Defendant is not personally in possession of, nor obligated to produce

documents belonging to, a non-party corporate entity. To the extent Defendant was

able, he provided documents in his possession or what may constitute as under his

“control” to the extent he could access such documents. Flagg v. City of Detroit, 252

F.R.D. 346 (E.D. Mich. 2008).

      Further, Plaintiff’s entire claim is in the amount of $36,000.00. Plaintiff’s

request is severely disproportionate, overbroad, and unduly burdensome because he

is asking for a complete financial picture over a three-year period for Defendant’s

former business that took in approximately $9,000,000.00 in gross revenue annually.

Plaintiff’s claim is small in comparison, and his requests are not proportional to the

needs of this case. Plaintiff is not obligated to a complete accounting of Defendant’s




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prior company’s financial records, nor should Defendant be obligated to supplement

his response.

       Plaintiff’s Interrogatory #9 asks Defendant to “state the name, address,

telephone number of each witness you may call at trial, and state whether they are a

lay or expert witness, and the subject matter of the witness’ expected testimony.”

Defendant appropriately referred to his answer to Interrogatory #5 because

Defendant does not currently have the knowledge or possession of the requested

names or contact information that Plaintiff is seeking, beyond what has already been

produced in Defendant’s Initial Disclosures and Defendant’s Responses to

Plaintiff’s discovery requests. Moreover, with regard to lay witnesses, Defendant

has not met with nor spoken to any of these individuals. Defendant is unaware of the

specifics or extent of the knowledge or information these lay witnesses may have.

Thus, Defendant cannot answer beyond what he has already provided in response to

Interrogatory #9 because he cannot speculate as to what these lay witnesses will

testify to.

       V.     Plaintiff alleges Defendant did not organize his document
              production to Plaintiff’s satisfaction.

       In response to Plaintiff’s Requests for Production, Defendant produced 242

pages of documents which included text message conversation screenshots.

Plaintiff’s motion alleges Defendant provided a “document dump” contrary to

Fed.R.Civ.P.34(b)(2)(E)(i).
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      Fed.R.Civ.P.34(b)(2)(E)(ii) indicates “if a request does not specify a form for

producing electronically stored information, a party must produce it in a form or

forms in which it is ordinarily maintained or in a reasonably usable for or forms.”

      The text message screenshots were not required to be sorted or organized in

any other format because they were not maintained in any other format. Therefore,

the form of Defendant’s response regarding the production of documents,

particularly the text message screenshots, was sufficient. Production of text

messages in a form or forms in which it is ordinarily maintained or in a reasonable

usable form or forms is acceptable. Laub v. Horbaczewski, 2019 WL 3492402, at

*26 (C.D. Cal. July 30, 2019).

      Plaintiff’s assertion that “Defendant failed to provide any responsive

documents to the majority of Plaintiff’s requests” or that 242 pages of documents

consisting mainly of text message screenshots is a “haystack” to which Plaintiff is

in search of a “needle” is without merit. It is not Defendant’s obligation to review

and subsequently sort documents in a manner that is sufficient to Plaintiff’s liking

and preference. Being able to separate and differentiate what was produced should

be relatively easier for Plaintiff than it was for Defendant to retrieve and produce

said documents.




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      VI.   Plaintiff alleges Defendant’s production was inadequate.

      With regard to Request for Production 2, Plaintiff seeks production of all

business and financial records on the Project. Request for Production 9 seeks copies

of purchase orders, work orders, change orders, and similar documents issued to

Defendant or Exigent related to the Project.

      Defendant justifiably answered by producing the contract, a change order, and

the various permits associated with the Project. These were the documents pertaining

to the Project that Defendant had within his possession. Defendant is an individual,

not the business/corporate debtor. Plaintiff’s request seeks documents that are held

by the corporate debtor who is not a named party to this adversary proceeding. As

an individual, Defendant is not obligated to produce documents beyond those in his

possession or control. Flagg v. City of Detroit, 252 F.R.D. 346 (E.D. Mich. 2008).

Further, if Plaintiff seeks further information regarding Exigent Landscaping,

Plaintiff is legally permitted to subpoena the corporate debtor/Exigent. “The Court

‘cannot compel a party to provide information that he or she does not possess any

more than it can compel that party to produce documents that do not exist or are not

in his possession, custody or control.’ Roden v. Floyd, No. 2:16-CV-11208, 2019

WL 1098918, at *3 (E.D. Mich. Mar. 8, 2019).” Waskul v. Washtenaw Cnty. Cmty.

Mental Health, 569 F. Supp. 3d 626, 639 (E.D. Mich. 2021).




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      VII.   Conclusion.

      Plaintiff’s Motion to Compel is fraught with false allegations of non-

compliance and dissatisfaction with Defendant’s objections, and the manner in

which documents were provided. Defendant has acted in good faith, complied with

his discovery obligations, and produced relevant documents that were within his

possession and answered Plaintiff’s requests to the best of his knowledge.

Defendant’s objections were appropriate and properly pled. Defendant respectfully

requests this Court deny Plaintiff’s Motion to Compel and grant any further relief

that this Court deems just and proper.

      WHEREFORE, Defendant Brandon Heitmann requests that this Honorable

Court DENY Plaintiff’s Motion to Compel and grant any further relief this Court

deems just and proper.

                                         Respectfully submitted,

                                         KOTZ SANGSTER WYSOCKI P.C.

Dated: May 1, 2025                       /s/ Tyler P. Phillips
                                         By: Tyler P. Phillips (P78280)
                                         Attorneys for Brandon Heitmann
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                     EASTERN DISTRICT OF MICHIGAN
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IN RE:
                                                  Case No. 24-41956-mar
BRANDON HEITMANN,                                       Chapter 7
                                                  Hon. Mark A. Randon
      Debtor.
                            /
MOHAMED SAAD,

      Plaintiff,                                  Adv. Pro. No. 24-04375-mar
                                                  Hon. Mark A. Randon
v.

BRANDON HEITMANN,

     Defendant.
________________________/

                            CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2025, I electronically served the foregoing
paper(s) with the Clerk of the Court using the ECF system, which will send
notification of such filing to the Office of the United States Trustee and all those
listed by the Court as receiving electronic notices in this case from the Court’s
CM/ECF system.
                                       Respectfully submitted,

                                         KOTZ SANGSTER WYSOCKI P.C.

                                         /s/ Tyler P. Phillips
Dated: May 1, 2025                       By: Tyler P. Phillips (P78280)
                                         Attorneys for Brandon Heitmann
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